Case 1:15-cv-05239-I\/|KB-ST Document 93 Filed 06/11/18 Page 1 of 10 Page|D #: 621

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LAWRENCE K. MARKS JOHN W. McCONNELL
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June 11, 2018

Magistrate Judge Steven L. Tiscione
U.S. District Court

Eastern District of New York

225 Cadman Plaza East

Brooklyn, New York 11201

Re: Goonewardena v. Spinelli, et al.
15 CV 5239 (MKB) (ST)

 

Dear Magistrate Judge Tiscione:

This letter is submitted in response to the June 5, 2018 letter by Plaintiff to the Court,
concerning his prior attempted service of two non-party deposition subpoenas, as well as in
response to the attached three non- party subpoenas duces tecum directed to Assistant
Deputy Counsel Shawn Kerby, also dated June 5, 2018.

 

 

The Non-partv Deposition Subpoenas for Court Officers Stock and Cosentino

 

On Apri127, 2018, plaintiffs uncle sought to serve five deposition subpoenas in this
matter at this Office. Ms. Kerby accepted service of three of the subpoenas directed to: (1)
Sherrill Spatz, Inspector General, Unified Court System Office of the Inspector General
(“OIG”); (2) Joseph Kuceluk, Investigator, OIG; and (3) Ms. Kerby. At the May 17, 2018
conference before Your Honor~, these subpoenas were quashed by Your Honor.

Regarding the-remaining two deposition subpoenas directed to Court Officers in
Queens County identified solely by shield number, Ms. Kerby did not accept service on
April 27, 2018. Where she had no request or designation by the unidentified Officers to
accept service on their behalf, Ms. Kerby advised plaintiff’s uncle that personal service
should be made at the command where the Officers were assigned, and that the
commanding officer would advise whether service would be accepted on behalf of the
officers, instead of service in the courtroom, which might disrupt any on-going proceedings
where the officers might be assigned Contrary to plaintiffs claim, Ms. Kerby did not

COUNSEL’S OFF|CE ° 25 BEAVER STREE`]', NEW YORK, NEW YORK 10004 * TEL: 212-428-2150 ' FAX: 212-428-2155

 

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advise plaintiffs uncle to “go to the courthouse and leave it with Chief [C]lerk Tamara
Kersh.”l

Rather than serve the Officers in person at their command in Queens County (W
FRCP 45(b)(l)), according to plaintiffs June 5, 2018 letter, he attempted to serve the Chief
Clerk’s Office on or about May 24, 2018. Where it was unclear to the Chief Clerk’s Office
whether the subpoenas involved parties represented by the Office of the Attorney General’s
office, including for purposes of service, the Chief Clerk did not accept service of the
subpoenas for Officers Stock and Cosentino.

Although plaintiff did not serve the Officers as Ms. Kerby had advised at their
command, in order to accommodate plaintiff in this one instance, the command has agreed
to accept service of the deposition subpoenas for Officers Stock and Cosentino via facsimile
at the following number: (718) 298-1181. This one-time courtesy does not constitute an
acceptance of service on parties or non-parties in this matter via facsimile. Nor does it
waive objections to the merits of such subpoenas

However, as with the prior non-party deposition subpoenas that were quashed on
May 17, 2018, Sgt. Stock is not mentioned in the complaint. Although Officer Cosentino is
referenced by shield number as being present during the incident described in the Third
Amended Complaint (11 21), Sgt. Stock is not referenced by name or shield number in the
complaint, nor alleged to have been involved in any of the incidents described in the
complaint As such, there is no factual or legal basis for the non-party deposition subpoena
to be issued to Sgt. Stock.

The Three Subpoenas Directed to Assistant Deputy Counsel Shawn Kerby

The three June 5, 2018 subpoenas dies tecum directed to Ms. Kerby seek the
following: (1) “all email communications” between A.A.G. Michael Siudzinski and Ms.
Kerby, and between lnvestigator Kuceluk and Ms. Kerby; (2) “any documents of collective
bargaining law or state law that prevent investigations of court employees until civil case is
completed”; and (3) copies of the personnel files for Officers Spinelli, Williams, and Alfieri.

 

l On that same date, Ms. Kerby further advised plaintiffs uncle that plaintiff should identify
the names of the officers in the subpoenas for service, and that the names could be obtained by
plaintiff as he had in the past, pursuant to a Freedom of lnforrnation Law (“FOIL”) request Rather
than submit a FOIL request, plaintiff served additional subpoenas, dated April 30, 2018, for the
names of the officers associated with the two shield numbers. By letter dated May 10, 2018, Ms.
Kerby advised plaintiff of the names of the Court Officers for the shield numbers provided: Sgt.
John Stock and Officer Joseph Cosentino.

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(1) As discussed at the May 17, 2018 conference before Your Honor, at which time
plaintiffs subpoena seeking to depose Ms. Kerby about her communications with
Mr. Kuceluk was quashed, the current subpoena seeking her email
communications with Mr. Kuceluk and A.A.G. Siudzinski representing the
defendants implicates privileged attorney-client communications and work-
product.2 g FRCP 45(d)(3)(A)(iii), 45(e)(2); In re Cty. Of Erie, 473 F.3d 413,
419 (2d Cir. 2007) (protecting emails as attorney-client privilege); Koumoulis v.
lndep. Fin. Mktg. Grp., Inc., 295 F.R.D. 28, 39 (E.D.N.Y.2013) (opinion and non-
opinion work product not subject to disclosure).

(2) With regard to the subpoena seeking “law,” it essentially seeks the performance
of legal research, or a service, rather than the production of responsive existing
documents. See FRCP 45(e)(l)(A). Plaintiff can perform his own legal research.
Moreover, this issue concerning internal OIG investigations was addressed with
plaintiff at the May 17, 2018 conference.

(3) Disclosure of personnel files of the named defendants directly to plaintiff is not
warranted at this time. Personnel records of court officers are confidential
pursuant to Civil Rights Law § 50-d. There are no disciplinary matters or
substantiated complaints of misconduct pertaining to these Officers material to
the complaint Other than engaging in a fishing expedition, there appears to be no
relevant or material information in the personnel files. _S_@ gg., People v.
Magliore, 178 Misc.2d 489 (Sup. Ct. Kings Co. 1998) (denying subpoena for
court officers’ personnel records with no factual showing of relevancy and
materiality, beyond speculation of possible impeachment testimony); Mercado v.
NYS Police, 989 F.Supp. 521 (S.D.N.Y. 1998) (police officer confidential
personnel records protected by Civil Rights Law § 50-a against disclosure of
irrelevant materials and fishing expeditions). Moreover, where plaintiff has yet to
make disclosures pursuant to FRCP 26 and has not responded to defendants’
written discovery demands, the status at this time does not warrant disclosure of
the personnel files, where this matter may be discontinued for failure to prosecute.
Nor should plaintiff be permitted to circumvent FRCP 26 discovery provisions
with a subpoena.

 

2As discussed at the May 17, 2018 conference before Your Honor, Ms. Kerby is the assigned attorney in this
matter, who represented Mr. Kuceluk and responded to plaintiffs numerous prior non-party subpoenas and FOIL
correspondence As the assigned attomey, she coordinates with, and provides necessary assistance to, A.A.G.
Siudzinski who represents the defendants, including communications reflecting opinions, work product, and legal
strategies regarding the underlying litigation.

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ln any event, at such time as deemed appropriate by the Court, the personnel files
can be produced for i_n camera review in support of the absence of relevant and
material portions for purposes of disclosure to plaintiff. _S£e_ Civil Rights Law

§ 50-d(2); g gg_., King v. Conde, 121 F.R.D. 180 (E.D.N.Y. 1988); People v.
Gissendanner, 48 N.Y.2d 543 (1979).

    

Very truly yours,

- ,/'

Lee Adlerstein

Deputy Counsel

Michael Siudzinski, A.A.G.
Prassana Goonewardena

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AO 88B (Rev. 02/14) Subpoena to Produce Documen!s, lnformation, or Objects or to Permit Inspection ofPremises in a Civil Action

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Eastern District of New York

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATlON, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

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(Name ofperson/lo whom this subpoena is directed)

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ij Inspection of Premises.' YOU ARE COMMANDED to perm§ entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rul_e 45{d);,relating`&to,your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

ws_.;_£ibo As C. PALMER

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The r.arne, address, e-mail address, and telephone number of the attorney representing (name afparty)
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed Fed. R. Civ. P. 45(a)(4).

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit inspection of Premises in a Civil Action

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Eastern District of New York

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TO: jaws/n /fe\/ S%

(Nanie of person to whom this subpoena is directed)

 

Production.' YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents electronically stored information, or ects and to permit inspection, copying, testin , or sampling of the
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ij Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

 

 

 

 

(ch`»v n § nw §§ n §§ n § 7 Date and Time:

'l`he following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 451<1) relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena;a d the potential consequences of not doing so.

iMma)o LAS C. PALMER

 

 

OR
§ / vSignalu)'e afc/erk or Deputy Clerk Attorney ’s signature

 

 

 

 

'I`he name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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Case 1:15-cv-05239-I\/|KB-ST Document 93 Filed 06/11/18 Page 9 of 10 Page|D #: 629

AO 883 (Rev. 02/14) Subpoena to Produce Documents, lnformation, or Objects or to Pennit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT C()URT

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SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

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(Name of p son lo whom this subpoena is directed)

 

Q"Proa’uction: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following

documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

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Cl Inspectz‘on of Premlses. YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
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leC€T __mw§im`# _i j q § ii Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to__"th_`is subpoena and the potential consequences of not doing so.

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OR

 

 

 

 

 

 

 

 

 

Signature oj’Clerk or Deputy C/erk Attorney 's signature

 

The na.'fne._. address, e-~mail address, and telephone number of the attorney representing (name of parry)
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
lf this subpoena commands the production of documents, electronically stored information, or tangible things or the
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